      Case: 1:18-cv-03611 Document #: 19 Filed: 05/12/21 Page 1 of 1 PageID #:120
                                UNITED STATES DISTRICT COURT
                                       Northern District of Illinois
                                       219 South Dearborn Street
                                         Chicago, Illinois 60604

Thomas G. Bruton                                                                     312-435-5670
Clerk


Date: 5/12/2021                                                        Case Number:18cv3611
Case Title: Sroga v. Kaminiski et al                                   Judge: Charles R. Norgle, Sr
                                 NOTICE OF CORRECTION
     The following errors/deficiencies have been identified in document # [ 18                 ].
 The document is on the incorrect case. (If this is a motion, the docket clerk has termed the
  motion)
 The document is on the correct case but the case number and title do not match.
 The incorrect document [pdf] was linked to the entry.
 The incorrect file date was entered.
 The incorrect event was used. The title of the document does not match the text of the entry.
 The entry is a duplicate of entry [        ].
 Other:


Corrective action taken by the Clerk:
 The text of the entry has been replaced with Entered in Error.
 The following notation has been added to the text of the entry: Linked document has the
  incorrect case title, or, Linked document has the incorrect case number.
 The correct document [pdf] has been re-filed.
 The file date has been corrected.
 The text of the entry has been edited to reflect
 The text of the entry has been edited to read, Duplicate filing of document number [ ] .
 Other:


Corrective action required by the filer:
 Counsel must re-file the document
 Other:

                                                         Thomas G. Bruton, Clerk
                                                         By: /s/ G. Willis
                                                             Deputy Clerk


Rev. 8/13/18
